Deposition of Enrique K. Razon, Jr. V.1                         Global Gaming Philippines, LLC v. Enrique K. Razon, Jr., et al


   1      UNITED STATES DISTRICT COURT
          SOUTHERN DISTRICT OF NEW YORK
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          - - - - - - - - - - - - - - - - - - x
   3                                          :
          GLOBAL GAMING PHILIPPINES, LLC,     :
   4                                          :
                   Plaintiff,                 :
   5                                          :
               v.                             : Case No.
   6                                          : 21 Cv. 2655
          ENRIQUE K. RAZON, JR.;              : (LGS)(SN)
   7      BLOOMBERRY RESORTS AND HOTELS INC.; :
          SURESTE PROPERTIES INC.;            :
   8                                          :
                   Defendants.                :
   9                                          :
          - - - - - - - - - - - - - - - - - - x
 10
                                REMOTE VIDEOTAPED DEPOSITION OF
 11                             ENRIQUE K. RAZON, JR., VOLUME I
                                         May 26, 2022
 12
               REMOTE VIDEOTAPED DEPOSITION OF ENRIQUE K.
 13       RAZON, JR., produced as a witness at the instance of
          the Plaintiff, and duly sworn remotely, was taken in
 14       the above-styled and numbered cause on May 26, 2022,
          from 8:08 a.m.(KST) to 2:17 p.m.(KST), remotely
 15       before Dawn K. Larson, RDR, CRR, reported by machine
          shorthand, pursuant to the 30(b)(6) Federal Rules of
 16       Civil Procedure and the provisions stated on the
          record.
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 1    Q. Are you still 100 percent owner of Prime?              1
                                                                   potential investors of the intended use of funds to
 2    A. Yes.                                                    2
                                                                   be raised in the follow-on offering; correct?
 3    Q. What is it currently called, Prime? It                  3
                                                                       A. Yes. And the funds were used exactly for
 4 changed names; correct?                                       4
                                                                   that purpose.
 5    A. Prime Strategic Holdings.                               5
                                                                       Q. So your goals -- among your goals, one of
 6        MR. PASCUCCI: Let's put up Tab 28, which               6
                                                                   your goals in forming BRC and publicly listing it on
 7 we'll mark as Exhibit 135.                                    7
                                                                   the follow-on offering was to raise capital to
 8        (Plaintiff's Exhibit 135 was marked.)                  8
                                                                   complete the Project and fund its operations?
 9    Q. Mr. Razon, this a long document. I'm not                9
                                                                       A. That's right.
10 going to ask you to read the whole thing.                    10
                                                                          MR. PASCUCCI: Let's put up Tab 30, which
11        MR. PASCUCCI: But, Dan, if you could                  11
                                                                   we'll mark as 136.
12 scroll down -- well, actually, you're fine where you         12
                                                                          (Plaintiff's Exhibit 136 was marked.)
13 are.                                                         13
                                                                          BY MR. PASCUCCI:
14        I'll note for the record, this is a document          14
                                                                       Q. Mr. Razon, I've put in front of you an
15 identified as Bates number BLOOM_0077381. This is an         15
                                                                   affidavit that you submitted in the arbitration in
16 Offering Circular.                                           16
                                                                   this case. It's titled "Affidavit of Enrique Klar
17        BY MR. PASCUCCI:                                      17
                                                                   Razon, Jr."
18    Q. Mr. Razon, you've seen the Offering                    18
                                                                          MS. FISSELL: Dan, this isn't an affidavit
19 Circulars relating to the top-up offering of BRC;            19
                                                                   from the arbitration.
20 correct?                                                     20
                                                                          MR. PASCUCCI: I'm sorry. I misstated
21    A. Yes, which we referred to as a follow-on               21
                                                                   that. This is an affidavit submitted in the Hong
22 offering, yeah.                                              22
                                                                   Kong High Court. Apologies for that.
23    Q. I'm sorry. You said a follow-on -- what                23
                                                                          BY MR. PASCUCCI:
24 was that?                                                    24
                                                                       Q. Do you recall signing this affidavit?
25    A. Offering.                                              25
                                                                       A. No, I would have to read it first. Can we
                                                     Page 131                                                            Page 133
 1    Q. Offering. Okay?                                 1 see the signature?
 2    A. Your "top-up" is -- the term here is            2     Q. Yeah, let's go down to the signature line.
 3 "follow on."                                          3 It's up higher.
 4    Q. Happy to use your terminology. We can           4     A. That's my signature.
 5 call it a "follow-on offering."                       5     Q. Okay. Let's go to Paragraph 6.
 6         Let's go to Page 41 of this document.         6        Paragraph 6 reads: "I am a director and
 7 We'll have to blow that up a little bit.              7 Controlling Shareholder in the sense that I hold or
 8         So this is a section -- can you see all of    8 control the voting shares of BRC, BRHI, Sureste, and
 9 that, sir?                                            9 Prime Metroline."
10    A. Yes.                                           10        You submitted this declaration with that
11    Q. This is a section called "Use of               11 testimony in the Hong Kong proceedings; correct?
12 Proceeds," and I want to focus your attention on the 12     A. Correct.
13 fourth paragraph, which reads: "The company intends 13      Q. And that statement was true when you made
14 to use the proceeds of the subscription to fund      14 it?
15 Phase 1 of Solaire Manila, including construction,   15     A. Yes.
16 FF&E, and other various day-to-day expenses, such as 16     Q. It's still true today?
17 pre-opening costs and working capital, as well as    17     A. Still true today.
18 for general corporate purposes."                     18        MR. PASCUCCI: Let's mark as Exhibit 137
19         Do you see that?                             19 Tab 31.
20    A. Yes.                                           20        (Plaintiff's Exhibit 137 was marked.)
21    Q. So was the purpose of the follow-on            21        BY MR. PASCUCCI:
22 offering to raise capital to support construction    22     Q. This is testimony -- again, we've seen a
23 and operation of Solaire?                            23 couple excerpts from this -- October 28, 2015.
24    A. Yes. To complete Solaire, finish it.           24        Let's go down to the next page. Let's go
25    Q. This was a true representation to              25 one more page.

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 1    A. As much as possible, yes.                              1 left.  He doesn't need to see his picture, and he
 2    Q. So I want to switch topics and just be                  2 apparently doesn't want to. The text is important,
 3 clear on what I'm doing here, that we talked about            3 and the right of screen might still be cut off.
 4 earlier you were designated as the corporate                  4        THE DEPONENT: That's too big now. Yeah,
 5 representative of BRHI and SPI on Topic Number 2,             5 it looks like --
 6 which is written: "Mr. Razon's role and                       6        MS. FISSELL: There's no question pending.
 7 responsibilities as Chief Executive Officer and               7        BY MR. PASCUCCI:
 8 Chairman of the Boards of Directors of SPI and                8     Q. So this is a -- do you recognize this
 9 BRHI."                                                        9 document?
10         You understand that you're the corporate             10     A. No, I don't. But it looks like it's from
11 designee to testify on that topic; correct?                  11 one of the annual reports.
12    A. Yes, and Razon here -- there is no "E" in              12     Q. Does this document list your current roles
13 my name. It is just Razon.                                   13 at the Razon companies listed here?
14    Q. I apologize. I didn't create that, but                 14        MS. FISSELL: Note that, on Mr. Razon's
15 that's just a transcript from --                             15 screen, you can't see all of the text.
16    A. It's a transcript of what?                             16        BY MR. PASCUCCI:
17    Q. An investor conference in 2012.                        17     Q. Okay. So --
18         So on the Topic 2 that we just read, you             18     A. What document is this?
19 understand you are the corporate designee on that            19        MR. PASCUCCI: Let's go a little smaller,
20 topic; correct?                                              20 Dan Cotilla. Yeah. And now scroll it as far to the
21    A. In what company?                                       21 far to the right as you can. He has something
22    Q. You are the corporate designee to testify              22 covering his right edge.
23 about your role and responsibilities as CEO and              23        BY MR. PASCUCCI:
24 Chairman of the Boards of SPI and BRHI.                      24     Q. Can you see it? Can you see --
25         You understand that; right?                          25     A. It's all our faces covering it.
                                                     Page 147                                                          Page 149
 1                                                      1        MS. FISSELL: You have to slide it so the
       A. Right.
 2                                                      2 picture is offscreen and the text is further.
       Q. Let's --
 3                                                      3        MR. PASCUCCI: Let's go off the record a
       A. And BRC.
 4                                                      4 minute.
           MS. FISSELL: They are not interested.
 5                                                      5        EVEREST TECHNICIAN: The time is 11:39.
           BY MR. PASCUCCI:
 6                                                      6 We're off the record.
       Q. Let's put up Tab 32. We will mark this as
 7                                                      7        (Brief recess.)
   140.
 8                                                      8        EVEREST TECHNICIAN: The time is
           (Plaintiff's Exhibit 140 was marked.)
 9                                                      9 11:40 a.m. We are on the record.
           BY MR. PASCUCCI:
10                                                     10        BY MR. PASCUCCI:
       Q. This is a bio from your ICTSI website,
11
   your ICTSI bio. Why don't you take a minute and 11        Q. All right. So, Mr. Razon, take a
12                                                     12 moment -- Dan, you have to scroll a little to the
   review that?
13                                                     13 right because now it's cut off for everyone.
       A. That's a terrible picture.
14                                                     14        What I wanted to ask you is: Does this
       Q. Apologies for that. I don't make your
15                                                     15 document that's in front of you now, Exhibit 140,
   website, either --
16                                                     16 accurately describe your current roles at the Razon
       A. No, but somebody's got to --
17                                                     17 Group companies identified on this document?
           (Overlapping speakers.)
18                                                     18    A. Yes, with one qualification: That some of
       A. This has to be changed.
19                                                     19 these entities are no longer -- no longer exist or
       Q. You may have to talk to your marketing
20                                                     20 are no longer owned by me.
   department about that.
21                                                     21    Q. Which ones?
       A. I will.
22                                                     22    A. Xcell Property; I have no more holdings
           MS. FISSELL: Can you guys make it a
23                                                     23 there. CLSA Exchange Capital, no more.
   little bigger? The font is still pretty small here.
24                                                     24    Q. Any others?
           MR. PASCUCCI: Yeah, we can make it
25                                                     25    A. Pentland International. I don't know what
   bigger. You have the ability to slide it to the
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 1 that is in which Pentland International Holdings.            1
                                                               Q. In addition to being Chairman and CEO of
 2     Q. Okay. So that's the last three listed in       2
                                                           BRC, you are also Chairman of BRHI; correct?
 3 the third paragraph, you don't have an interest in    3
                                                               A. Yeah, I am. Yeah.
 4 at this point?                                        4
                                                               Q. And as Chairman of the Board of BRHI, you
 5     A. But this looks like it was accurate at the     5
                                                           attend Board meetings; correct?
 6 time it was published.                                6
                                                               A. Yes.
 7     Q. So it was accurate when it was published,      7
                                                               Q. You preside over Board meetings?
 8 and as of today, other than those three -- Pentland,  8
                                                               A. I am presiding also, yes.
 9 CLSA, and Xcell -- are there any other listings here  9
                                                               Q. I'm sorry. Say that again.
10 that are no longer accurate?                         10
                                                               A. Yes. I'm the presiding officer, as we
11     A. Not that I can see anymore. But this          11
                                                           call it here, yes.
12 looks fairly new because the --                      12
                                                               Q. You are the presiding officer of BRHI's
13        (Interruption.)                               13
                                                           Board meetings; correct?
14     A. It's accurate.                                14
                                                               A. Yes.
15     Q. All right. Let's put up Tab 33, which         15
                                                               Q. And are there regularly rescheduled
16 we'll mark as 141.                                   16
                                                           meetings of Board, apart from the special meetings
17        (Plaintiff's Exhibit 141 was marked.)         17
                                                           we've seen?
18        BY MR. PASCUCCI:                              18
                                                               A. Yes. We have regular meetings, and, every
19     Q. Let's go down -- well, first of all, for      19
                                                           so often, a few special meetings if something
20 the record, this is a copy of a declaration of       20
                                                           important comes up and needs to be taken up to the
21 Enrique Razon, Jr., dated December 7, 2014, in the   21
                                                           Board.
22 arbitration in this matter. And let's go to          22
                                                               Q. How frequent are the regular meetings?
23 Paragraph 2.                                         23
                                                               A. There are at least ten, ten a year
24        It describes there that you are Chairman,     24
                                                           regular, plus one during the annual shareholders'
25 CEO, and Controlling Shareholder of ICTSI, a global 25
                                                           meeting.
                                                     Page 151                                                            Page 153
 1 port business in Manila.    You were executive VP of         1     Q. You set the agenda for Board meetings at
 2 ICTSI when it was established in 1987 to operate the          2 BRHI; correct?
 3 Manila International Container Terminal. In 1992,             3    A. Pardon me?
 4 it says you listed ICTSI shares on the PSE.                   4    Q. As Chairman, do you set the agenda for
 5        Is that all accurate?                                  5 Board meetings at BRHI?
 6     A. Yes.                                                   6    A. Well, I go over the agenda and discuss it
 7     Q. It goes on to say you "became Chairman and             7 with the corporate secretary, what to include in the
 8 CEO of ICTSI, succeeding my father, who died in               8 agenda, based on what management has elevated up for
 9 1995." You then led the transformation of ICTSI               9 Board approval.
10 from a local company to a global enterprise with 30          10    Q. But, ultimately, it's your decision what
11 ports in 22 countries.                                       11 goes on the agenda; correct?
12        Is that accurate?                                     12        MS. FISSELL: Objection.
13     A. A few more ports now, but that's accurate.            13    A. No -- well, ultimately, it's the corporate
14     Q. It was accurate when you wrote it and now             14 secretary's.
15 your numbers have expanded?                                  15        BY MR. PASCUCCI:
16     A. Yes.                                                  16    Q. Has there ever been a time when you wanted
17     Q. Take a look at Paragraph 3. You can just              17 something on the agenda and the corporate secretary
18 go ahead and read it to yourself.                            18 didn't put it on?
19     A. Umm-hmm.                                              19    A. No. No.
20     Q. Was that paragraph accurate when you                  20    Q. Has there ever been a time when the
21 offered that testimony?                                      21 corporate secretary wanted something on the agenda
22     A. Yes.                                                  22 that you didn't want on there?
23     Q. Have any facts in Paragraph 3 changed                 23    A. No.
24 since you submitted it?                                      24    Q. So is it fair to say the agendas are
25     A. No.                                                   25 consistent with what you want on the agenda?

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 1 without an equity portion, whether there's an 80/20          1 correct?
 2 loan equity to debt or 70/30 or 60/40.                       2       A. I think that's where Garry Saunders
 3     Q. Whatever the ratio is, the banks wanted to            3 introduced Bill Weidner.
 4 know that you had your money in, in the form of              4       Q. I have additional documents that might
 5 equity, before they would lend; correct?                     5 help refresh your recollection, so don't worry.
 6     A. Yes. Having that equity is a requirement              6       A. Yeah, I think that -- because I only met
 7 by the banks to lend the money.                              7 him once in Las Vegas.
 8     Q. Let's talk about the negotiations of the              8     Q. Okay. And this goes on. In Paragraph 13,
 9 MSA.                                                         9 it says:  "Mr. Weidner promised that they would draw
10         Let's go ahead and put up Exhibit 77,                10 up a proposal for our agreement."
11 which we'll mark as 144. I'm sorry. It's Tab 77,             11       So this was the one meeting that you had
12 which we will mark as Exhibit 144.                           12 with him where he made the promise; correct?
13         (Plaintiff's Exhibit 144 was marked.)                13    A. Yes.
14         BY MR. PASCUCCI:                                     14    Q. So in the original meeting in Las Vegas
15     Q. This is, again, the 2015 declaration.                 15 with Mr. Weidner and Mr. Saunders, you talked about
16 Let's go to Paragraph 12.                                    16 the option to purchase equity in Solaire at
17         So you can -- well, let's scroll down a              17 10 percent of your shareholdings at owner's cost
18 little bit. A little smaller. Yeah.                          18 plus. You talked about a -- interest, and
19         So you see where there's a section called            19 Mr. Weidner then promised they would draw up a
20 "Equity option offer and negotiations of the MSA,"           20 proposal for your consideration; correct?
21 and this is your declaration. You're talking about           21    A. We didn't talk about any option yet. He
22 some of the initial contacts with GGAM. And in               22 made a pitch that he would submit that. I just met
23 Paragraph 12 in your declaration, you testified              23 him. So he made a pitch about the capabilities and
24 that: "In addition to Management Fees, we discussed          24 what they wanted to propose, and I told him to make
25 granting GGAM an option to purchase equity in the            25 a proposal.
                                                     Page 171                                                            Page 173
 1                                                      1     Q. The last document --
   Solaire as an additional compensation component.
 2                                                      2         THE DEPONENT: Where'd he go?
   The option would be equivalent to 10 percent of my
 3                                                      3         MS. FISSELL: He's getting a document.
   shareholdings in the Solaire at essentially owner's
 4                                                      4         (Comments off microphone.)
   cost plus a corresponding portion of the value of
 5
   the PAGCOR license. I intended this equity option 5            MR. PASCUCCI: So let's switch over. This
 6                                                      6 is just an excerpt. I want to go to the whole
   component to incentivize GGAM to perform as
 7                                                      7 document, which is previously marked Exhibit 134 --
   managers."
 8                                                      8 oh, I'm sorry. It is Tab 134. So let's pull up
          And it goes on to say: "I thought that if
 9                                                      9 134, and we will mark that as Exhibit 145.
   they had an equity stake in the business, then our
10
   interests, as owner and manager, could be aligned." 10         (Plaintiff's Exhibit 145 was marked.)
11                                                     11         EVEREST TECHNICIAN: Just a moment,
          That testimony was true at the time you
12                                                     12 Counsel. I do not have a 134.
   submitted this declaration under oath; correct?
13                                                     13         MR. PASCUCCI: Well, we'll submit that to
      A. It was true at the time.
14                                                     14 you right away. Dan, let me know when you receive
      Q. And you haven't learned anything that
15                                                     15 that.
   makes it less true today; correct?
16                                                     16         BY MR. PASCUCCI:
          It is still true?
17                                                     17     Q. So this is the entirety of the document.
      A. It was true at the time, yeah.
18
      Q. The initial discussion you had with GGAM, 18 So let's go ahead to -- and go down one page.
19                                                     19         All right. So we have marked your entire
   with the GGAM principals, that was at an initial
20                                                     20 declaration as Exhibit 145.
   meeting in Las Vegas; correct?
21
      A. The meeting in Las Vegas was to interview 21             Let's go down another page, please.
22                                                     22         Okay. So, this talks about -- in
   Garry Saunders --
23                                                     23 Paragraph 6, you'll see it states that in early
      Q. And --
24                                                     24 2011, you hired Spencer Stuart to identify a COO.
      A. -- the CEO.
25                                                     25         That's true; correct?
      Q. But Bill Weidner attended as well;
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 1                                                       1         In the Bloomberry companies, you've always
      Q. And you recognize this email?
 2                                                       2 served as CEO; correct?
          You have seen this before?
 3                                                       3     A. Well, there is only one company. But the
      A. I recognize that I'm on the email, but I
 4                                                       4 other companies, like Manila Water, I'm not the CEO;
   don't remember when or when this was.
 5                                                       5 prime Infra, I'm not the CEO.
      Q. So does this refresh your recollection
 6                                                       6     Q. You were CEO of BRHI, SPI, and then when
   that initially Mr. French did not report directly to
 7                                                       7 they were rolled up to BRC, you became CEO of BRC?
   you in the original organization of Solaire?
 8                                                       8     A. Yes -- yes.
      A. That's not what this email is saying.
 9                                                       9     Q. You've always been the CEO of BRC since
      Q. It states that you decided to correct an
10
   oversight in your organizational structure and that, 10 then; correct?
11
   consistent with management of all your companies, 11        A. Of BRC, yes.
12
   financing operations are always separately managed 12       Q. Did you need anyone else's approval to
13                                                      13 make this decision and instruct Ms. Occeña to make
   by the CEO. So effective May 15, 2012, the CFO
14                                                      14 this change?
   shall report to the CEO.
15                                                      15     A. If the Board approves the organizational
          Oh, I apologize. I --
16
      A. Yeah. You said the COO. The CFO shall 16 chart, then this would have had to be confirmed at
17                                                      17 least by the Board.
   report.
18                                                      18     Q. Do you recall -- do you recall ever taking
          (Comments off microphone.)
19                                                      19 this change reflected in Exhibit 80 to the Board?
      Q. Yeah, I apologize. Let me clean this up.
20                                                      20     A. I don't recall, but it most likely would
          Prior to this email, Ed Chen, who was the
21                                                      21 have.
   CFO of Solaire, did not report to you directly;
22                                                      22     Q. But you have no recollection of bringing
   correct?
23                                                      23 it to the Board?
      A. No, he did not. Yes.
24                                                      24     A. I have no recollection of this whole
      Q. And you decided, upon learning of that,
25                                                      25 thing.
   you made the unilateral decision to change the
                                                 Page 203                                                                Page 205
 1 reporting structure so that Ed Chen would report             1     Q. If Ms. Occeña testified that you made the
 2 directly to you; correct?                                     2 decision to change the reporting structure and
 3        MS. FISSELL: Objection.                                3 didn't consult with anyone else to correct this
 4     A. I don't know if it was a unilateral                    4 oversight, would that testimony be incorrect?
 5 decision, but it was a decision.                              5        MS. FISSELL: Objection.
 6        BY MR. PASCUCCI:                                       6    A. I don't know what her testimony was.
 7     Q. Ms. Occeña says Mr. Razon has noticed and              7        MR. PASCUCCI: Let's put up Tab 42. We
 8 decided to immediately correct the oversight.                 8 will mark this as Exhibit 152.
 9        Was that a true and accurate statement?                9        (Plaintiff's Exhibit 152 was marked.)
10     A. Yes. Because the common practice at the               10        BY MR. PASCUCCI:
11 time was that the CFO reports to the CEO.                    11    Q. And let's go to the -- is it Page 92?
12     Q. So you agree with her statement that it is            12        Just to give you some context, Ms. Occeña,
13 "consistent with customary practice and Mr. Razon's          13 starting on Line 13, is talking about Ed Chen being
14 management of all his companies that finance and             14 interviewed by you and reporting directly to Michael
15 operations are always separately managed by the              15 Chen.
16 CEO"; correct?                                               16        Let's scroll down. It's a long answer.
17     A. I think in this instance there was some               17 Keep going. Keep going. Stop. Please go back up.
18 background to it, that they didn't get along, but,           18 All right.
19 yeah, it is general practice that the CFO reports to         19        So we talk about the email that you just
20 the CEO.                                                     20 looked at. She asked the question: "My question
21     Q. In the Razon group of companies, you're               21 was, "You sent this email after a discussion with
22 always the CEO; correct?                                     22 Mr. Razon; correct?
23     A. No, I'm not always.                                   23        "Answer: Yes. I discussed the problem
24     Q. Which Razon Group companies -- well,                  24 with Ed Chen and with Mr. Razon.
25 strike that.                                                 25        "Question: And Mr. Razon made the
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 1 hire these guys and offer Brad or Garry a                    1 a little bit of context there.  This is in the
 2 compensation package he cannot refuse," what did you          2 arbitration. You are talking about the same email
 3 understand her to be referring to when she says "if           3 we just reviewed.
 4 Cantor stick to their guns"?                                  4        Do you see that? On Line 12 and 13, it's
 5     A. I don't know. I wasn't dealing with                    5 the same -- so you are being asked about the same
 6 Cantor.                                                       6 email we just went over.
 7     Q. By this time was Cantor involved in the                7     A. Yes, I see that.
 8 negotiations over the MSA?                                    8     Q. So let's scroll down a bit. Right there.
 9    A. No.                                                     9     A. Which one?
10    Q. At some point you came to the view that                10     Q. And you're asked the question on Line 21:
11 Cantor was a problem in the negotiations; correct?           11 "And they would then try to take Mr. Stone or
12    A. I think that was more Estella and Benny                12 Mr. Saunders away from GGAM?"
13 because I never dealt with Cantor.                           13        And you answer: "Yeah, because this is
14    Q. So even after looking at this, it doesn't              14 what you'd call a contingency plan, and Cantor had
15 refresh your memory as to when you first learned             15 stuck their nose in the negotiations and didn't
16 about Cantor's involvement with GGAM?                        16 even -- we were not dealing with Cantor when they
17    A. Yeah. At this point, the whole thing, to               17 started."
18 me, at least -- I was focused on setting up                  18        "Question: But you certainly understood
19 management. Cantor was irrelevant for me.                    19 this time that Cantor was involved; correct?"
20    Q. So let's scroll down to the last email in              20        And you state: "Well, Bill originally
21 this thread. There we go.                                    21 mentioned that Cantor was one of the funders or
22        This is from you -- earlier than the ones             22 backers of GGAM, but when the negotiations started,
23 that we just looked at, but on July 7, 2011 --               23 it seemed as if -- at least I was informed that
24 writing to Mr. Alarilla, and you state: "What is             24 Cantor had taken over the show."
25 the issue with Cantor? If it's the equity, we can            25        Was this accurate testimony when you gave
                                                     Page 219                                                            Page 221
 1 drop that, no problem.    They will want all kinds of        1
                                                                    it?
 2 minority rights, which we can't give because it's            2
                                                                      A. Yes, because from the beginning, we didn't
 3 only 10 percent."                                            3
                                                                   feel that Cantor added any value to this, so they
 4        So at this point, did you have issues with             4
                                                                   weren't in the casino side.
 5 Cantor?                                                       5
                                                                      Q. But by July of 2011, you were aware of
 6    A. Somebody had issues and reported it to me.              6
                                                                   Cantor's participation in the negotiations?
 7    Q. So you were aware, at least by this point,              7
                                                                      A. I was aware, but I never negotiated with
 8 that Cantor was involved in the negotiations?                 8
                                                                   Cantor.
 9    A. At this point, obviously somebody has                   9
                                                                      Q. Understood.
10 pointed it out to me.                                        10
                                                                          And when you say "Bill originally
11        MR. PASCUCCI: Let's put up Tab 53 and                 11
                                                                   mentioned that Cantor was one of the funders or
12 mark it as 156. What's the full version of this?             12
                                                                   backers of GGAM," where was it that he mentioned
13 136.                                                         13
                                                                   that? Was that in --
14        Dan, instead of this one, let's put up 136            14
                                                                      A. He mentioned it, but I don't know where he
15 and go to Page 64; give Mr. Razon a little more              15
                                                                   mentioned it; if it was verbally when we met or --
16 context because I think he's going to need it.               16
                                                                   you know.
17        EVEREST TECHNICIAN: Will this be marked               17
                                                                          (Overlapping speakers.)
18 as 156?                                                      18
                                                                      A. Mr. Weidner liked to talk, so he
19        MR. PASCUCCI: I think it's already                    19
                                                                   mentioned --
20 marked. No, we won't mark anything as 156 yet. We            20
                                                                      Q. So it could -- based on your current
21 don't need it.                                               21
                                                                   recollection, it could have been when you met with
22        Okay. So we are on 136. Let's go to                   22
                                                                   him in Las Vegas in March 2011, but you don't
23 Page 64 please.                                              23
                                                                   specifically recall?
24        BY MR. PASCUCCI:                                      24
                                                                      A. I don't recall. At some point it did.
25    Q. Okay. All right. So you can see there's                25
                                                                   The Las Vegas meeting was just a sidebar meeting
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                                                     Page 222                                                   Page 224
 1 that I had because I just left a meeting to --                1 Weidner, Occeña, Alarilla, and Tan, none of whom is
 2    Q. Okay.                                                   2 based in New York, relating to the negotiating the
 3    A. It was just to make an assessment of the                3 GGP relationship during one or more trips that
 4 guys themselves. But subsequently, at some point he           4 Mr. Razon made in New York in the April-June 2011
 5 mentioned it.                                                 5 time frame (during which he would have stayed at The
 6        MR. PASCUCCI: All right. And I don't                   6 Plaza residence in Manhattan), and respectfully
 7 believe we have actually marked this. I thought it            7 refers the Court to his flight logs and to the
 8 was Exhibit 136, but it is on Tab 136. So let's go            8 contemporaneous emails for the most accurate
 9 ahead and mark this as Exhibit 156.                           9 reconstruction of his whereabouts and
10        (Plaintiff's Exhibit 156 was marked.)                 10 communications."
11        BY MR. PASCUCCI:                                      11          That admission, under number (ii), to the
12    Q. All right. So while we're talking about                12 best of your knowledge, is a true and correct
13 2011, I want to pin down a little bit more specifics         13 admission; correct?
14 about the negotiations.                                      14       A. On number (ii), Razon had email and/or
15        Let's go ahead and pull up Tab -- sorry --            15 telephonic -- all I could say is it's possible.
16 Tab 159 and mark it as Exhibit 157.                          16       Q. You have no reason to believe that that
17        (Plaintiff's Exhibit 157 was marked.)                 17 admission lawyers made on your behalf is inaccurate,
18        BY MR. PASCUCCI:                                      18 do you?
19    Q. So, Mr. Razon, I have in front of you what             19       A. By email, it is not -- I can't say it is
20 has been marked as Exhibit 157. This is a document           20 inaccurate, but I didn't have any meetings with
21 recently filed in this case by your lawyers titled           21 anyone in New York.
22 "First Amended Answer of Enrique K. Razon, Jr."              22       Q. But while you were in New York, you were
23        Have you seen this document before?                   23 emailing your team regarding the GGP relationship,
24    A. Yes.                                                   24 and you were emailing regarding the negotiations of
25    Q. And did you approve and sign this document             25 the MSA?
                                                     Page 223                                                             Page 225
 1 before it was signed -- sorry -- before it was                1
                                                                       A. If I had received an email regarding that,
 2 filed?                                                        2
                                                                   I would have answered wherever I was.
 3     A. Did I sign this document?                              3
                                                                       Q. And if you did that while you were in New
 4     Q. No. It would be signed by lawyers, it's a              4
                                                                   York, it would have been at your Plaza residence in
 5 pleading, but I'm asking if you reviewed it and               5
                                                                   Manhattan?
 6 approved it before it was submitted, before it was            6
                                                                       A. That would depend because at this time
 7 filed in court?                                               7
                                                                   frame, I think it was under renovation.
 8     A. I'm pretty sure I read it.                             8
                                                                       Q. So during April-June of 2011, where did
 9     Q. If you saw something inaccurate, you would             9
                                                                   you stay when you were in New York?
10 have called attention to it?                                 10
                                                                       A. When I would go to New York while it was
11     A. I believe so, yes.                                    11
                                                                   under the renovations, I would stay at the Four
12     Q. Let's go to Paragraph 54.                             12
                                                                   Seasons.
13     A. This document is from the recent case?                13
                                                                       Q. To the best of your recollection, when
14     Q. It is -- yeah, your lawyers just filed it             14
                                                                   exactly was the residence at The Plaza under
15 in the case very recently. I don't recall which              15
                                                                   renovation?
16 state, but somewhere in the past week or two, I              16
                                                                       A. It was around this time somehow. I'll
17 think in the past couple days.                               17
                                                                   have to -- it could be 2012, 2013, 2011. I'll have
18        So in Paragraph 54, you are denying                   18
                                                                   to check.
19 allegations that were in our Complaint, in                   19
                                                                       Q. So you don't specifically --
20 Paragraph 54 of our Complaint, except that it admits         20
                                                                       A. 2014 is possible as well.
21 the following facts. It says: "(i), the Bloomberry           21
                                                                       Q. All right. You're not telling me
22 defendants sent responses to document requests and           22
                                                                   specifically that in April-June of 2011 --
23 diligence checklists by email to Cantor Fitzgerald           23
                                                                       A. No. No.
24 employees acting on behalf of GGAM; and, (ii), Razon         24
                                                                       Q. It wasn't available. Okay.
25 had email and/or telephonic communications with              25
                                                                         So it could be entirely true what your
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 1 lawyers put here, that during that time frame you              1
                                                                            Were you in New York in 2011 between
 2 stayed at The Plaza?                                            2
                                                                     April 19 and April 30?
 3     A. Yes, sir.                                                3
                                                                         A. Yes, to spend Easter with my children who
 4         MR. PASCUCCI: Let's go to Tab 17, please.               4
                                                                     were going to school in Boston.
 5 17, not 117. And we'll mark this as Exhibit 158.                5
                                                                            MR. PASCUCCI: All right. And let's put
 6         (Plaintiff's Exhibit 158 was marked.)                   6
                                                                     up Tab 124 and mark that as Exhibit 159.
 7         BY MR. PASCUCCI:                                        7
                                                                            (Plaintiff's Exhibit 159 was marked.)
 8     Q. So, Mr. Razon, while that's being pulled                 8
                                                                            BY MR. PASCUCCI:
 9 up.                                                             9
                                                                         Q. So Katrina Razon is your daughter; right?
10         (Comments off microphone.)                             10
                                                                         A. Yes.
11     A. I think it is somewhere else except here.               11
                                                                         Q. So on April 24, she tweets that it's the
12     Q. What's been marked as Exhibit 158 is a                  12
                                                                     last day in New York. She's going to miss the
13 disclosure from the FAA flight records regarding               13
                                                                     family.
14 what we have been calling the 818 plane of BRHI, and           14
                                                                            Do you recall during this trip her leaving
15 this is marked with Bates Number GGAM-SDNY-0446906.            15
                                                                     and going somewhere else while you and the family
16 This document has been produced in this litigation.            16
                                                                     stayed in New York?
17 It is created by the FAA records, and it purports to           17
                                                                         A. No. We would -- she would go back to
18 show flight logs of the BRHI 818 plane.                        18
                                                                     school in Boston.
19         And if you look at the fourth column, they             19
                                                                         Q. Well, so according to the flight records,
20 are dated roughly -- well, entirely chronological.             20
                                                                     the plane left from New York on the day after this
21 And I want you to go down about a third of the way             21
                                                                     tweet, the day after what Katrina describes as her
22 on that first page, you'll see an entry on -- it is            22
                                                                     last day on April 25, it left and stopped in Zagreb
23 Line -- Row 16. You'll see an entry on April 19,               23
                                                                     and then went on to Marseille.
24 2011 --                                                        24
                                                                            Do you have any recollection at that time
25     A. Umm-hmm.                                                25
                                                                     of your daughter to flying to Marseille?
                                                       Page 227                                                            Page 229
 1                                                       1     A. No. That was me. That was a business
       Q. -- showing that the plane went from
 2                                                       2 trip.
   San Francisco to Teterboro and immediately before
 3                                                       3     Q. That was you. And then you returned to
   that arrived in San Francisco the day before.
 4                                                       4 New York immediately after that?
           Do you recognize the airport code UHPP?
 5                                                       5     A. I went to Zagreb, a business trip. We
       A. I recognize as the one for Teterboro.
 6                                                       6 operate the port in Croatia. Marseille was a
   What is UHPP?
 7                                                       7 business trip, and then I probably went back to New
       Q. I believe that is one of Manila's
 8                                                       8 York to pick up wife and -- my wife.
   airports.
 9                                                       9     Q. Okay. And so the plane, if we -- that
       A. Teterboro is the East Coast. What is
10                                                      10 helps. I appreciate you clarifying it.
   UHPP?
11                                                      11        So the plane, if you look at the flight
       Q. UHPP is over Russia and --
12                                                      12 record -- let's go back to the prior exhibit -- it
       A. It is where?
13                                                      13 leaves Teterboro, goes to Zagreb on the 26th, goes
       Q. It is in Russia.
14                                                      14 on to Marseille and returns to Teterboro the 28th,
       A. That would be Petropavlovsk. That's a
15                                                      15 stays in Teterboro from the 28th to 30th.
   fuel, just to refuel.
16                                                      16        So would it be fair to say from the 19th
       Q. A fuel stop. So this -- according to the
17                                                      17 through the 26th, you were in New York, and from the
   FAA records, though, the plane -- the BRHI plane
18                                                      18 28th through the 30th, you were in New York?
   landed in Teterboro on April 19. And then you'll
19
   see it leaves Teterboro on the 26th of April. I can 19      A. Stayed in Zagreb.
20
   walk through some additional documents, but I just 20       Q. LDZA.
21                                                      21     A. Yeah. If it says Teterboro, I would be in
   want to ask you, do you -- well, let me walk through
22                                                      22 New York in this time frame, no. This must have
   a little bit more of this.
23                                                      23 been Easter holiday, Holy Week, I mean.
           It leaves Teterboro and returns to
24                                                      24     Q. And during this time while you were in New
   Teterboro two days later and then doesn't leave
25                                                      25 York, you were negotiating the MSA with GGAM and
   again until April 30.
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 1                                                               1
   Cantor; correct?                                                Mr. Razon.
 2                                                               2
      A. No, not correct. I didn't negotiate the                          Have you seen this email before?
 3                                                               3
   MSA.                                                                A. I don't -- I'll have to read through it.
 4                                                               4
      Q. Or you were instructing your people on                        Q. Can you read it?
 5                                                               5
   negotiations?                                                       A. Okay.
 6                                                               6
      A. They were only -- I gave them the                             Q. So you've seen this before?
 7                                                               7
   parameters early on, and they negotiated.                              You received this in 2011?
 8                                                               8
      Q. You were in New York on April 20, 2011;                       A. What I can say is that I see I was copied
 9                                                               9
   correct?                                                        in.
10                                                              10
      A. If that's what the flight log says.                           Q. And you don't remember --
11                                                              11
      Q. And if your penthouse at The Plaza was not                    A. It is too long ago for me to remember.
12                                                              12
   under renovation, that's where you would conduct                    Q. In the beginning of the email, Mr. Tan --
13                                                              13
   your affairs; correct?                                          well, let's skip that question. Let me start over.
14                                                              14
         MS. FISSELL: Objection.                                          At this time, Mr. Tan was your personal
15                                                              15
      A. I was there on holiday.                                   attorney; correct?
16                                                              16
         BY MR. PASCUCCI:                                              A. He's our corporate attorney, law firm.
17                                                              17
      Q. But if did you any business while you were                    Q. He also represented you individually?
18                                                              18
   in New York, you would have done it from your                       A. Yes.
19                                                              19
   penthouse at The Plaza; correct?                                    Q. And at this point -- April 20, 2011 --
20                                                              20
      A. Do you mean by email?                                     other than you individually, what -- what businesses
21                                                              21
      Q. Yeah. By email or phone call, however you                 of the Razon group of companies did Mr. Tan
22                                                              22
   would have done it.                                             represent?
23                                                              23
      A. Yeah, I would be at -- thinking back now,                     A. The law firm represented most of the legal
24                                                              24
   I'm pretty sure this was not the time it was being              work of most of the companies.
25                                                              25
   renovated.                                                          Q. So Mr. Tan and his colleagues were counsel
                                                     Page 231                                                  Page 233
 1                                                               1 for most companies of the Razon group of companies?
       Q. So it's -- so your best recollection as we
 2                                                               2       A. Yes. Not the only counselor. We have
   go through this is that at this time frame, in April
 3                                                               3 many foreign law firms as well.
   of 2011, you were stay at the penthouse in --
 4                                                               4       Q. So Mr. Tan writes to Mr. Weidner and
       A. Yes.
 5                                                               5 starts by saying "Mr. Razon requested us to send you
       Q. And at any point, from 2011 through
 6                                                               6 the following response to your email of April 18,
   present day, did you ever have other Bloomberry
 7                                                               7 2011."
   employees -- whether it was BRHI, SPI, or BRC --
 8                                                               8          Was that an accurate statement? You asked
   stay at The Plaza?
 9                                                               9 Mr. Tan to send this response?
       A. No.
10                                                              10    A. I cannot say, one way or another.
       Q. Did any Bloomberry employees ever meet
11                                                              11    Q. Do you recall discussing the issues listed
   with you at The Plaza?
12                                                              12 below that language I just read with Mr. Tan
       A. Never.
13                                                              13 sometime --
       Q. Did you ever hold any meetings, any
14                                                              14    A. I cannot recall.
   business meetings, whatsoever at The Plaza?
15                                                              15    Q. Sorry, I wasn't done with the question.
       A. Never.
16                                                              16        Sometime around April of 2011?
          MR. PASCUCCI: Let's put up Tab 65 and
17                                                              17    A. I can't recall.
   mark this as Exhibit 160.
18                                                              18    Q. Do you have any reason to believe Mr. Tan
          (Plaintiff's Exhibit 160 was marked.)
19                                                              19 would be inaccurate in stating that Mr. Razon asked
          BY MR. PASCUCCI:
20                                                              20 him to send this response?
       Q. While that's being pulled up -- oh, there
21                                                              21    A. No, no real reason. I just can't recall.
   we are. I'll note for the record this is an
22                                                              22    Q. Okay. But in your experience, you
   April 2011 email. There's two emails here. There
23                                                              23 wouldn't expect Mr. Tan to say that if it wasn't
   is one from Bill Weidner to Jon Rein, and below it
24                                                              24 true, would you?
   on the same date -- April 20, 2011 -- is an email
25                                                              25    A. I wouldn't -- that would be quite
   from Benny Tan to Bill Weidner, copying you,
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 1 upsetting if that really happened.                            1 phrased that question, you basically asked him to
 2     Q. That would be quite upsetting if he did                2 confirm the discussion he had with counsel.       So
 3 that without your authorization?                              3 perhaps you could rephrase it --
 4     A. But I don't believe I would have relayed               4          MR. PASCUCCI: I'll rephrase it. I'll
 5 anything this detailed.  Can I explain something?             5 rephrase it.
 6     Q. Please, please.                                        6          This email, Paragraph 1, where it states
 7     A. How this would work is he would give me                7 that Bill Weidner's understanding is correct that the
 8 the issues, then I would say what -- that he was              8 CEO intends to contravene management only if the
 9 correct and he should respond that way. That's how            9 business is not going according to plan or is
10 this works.                                                  10 absolutely necessary, that was an accurate reflection
11     Q. So you wouldn't have written this and                 11 of your position as CEO; correct?
12 scripted what he was going to write, but he would --         12     A. I could not -- I cannot recall.
13     A. No.                                                   13     Q. Was it true that you had no interest in
14     Q. -- but you wouldn't expect him to send                14 convening the Management Team if things were going
15 this without your approval?                                  15 well?
16     A. Yes. But he would tell me what he wanted              16     A. Well, why would I?
17 to say, not the other way around, that I would draft         17     Q. I'm asking whether that second sentence
18 this in great detail.                                        18 where Mr. Tan represents that --
19     Q. And you would listen to him and give him              19     A. If things were going well, I wouldn't
20 your input on what he was recommending and shape             20 contravene.
21 with him the response before he sent it?                     21     Q. So this paragraph is an accurate
22     A. Well, I would say yay or nay to --                    22 reflection of your position?
23        (Overlapping speakers.)                               23     A. I think it is an older statement.
24        MS. FISSELL: Let me just interject. I                 24     Q. Without telling me anything you said
25 just want to be careful that we don't start treading         25 specifically to Benny Tan, though, it's fair, based
                                                Page 235                                                           Page 237
 1 into ground where you are answering with specifics            1 on the testimony you gave to say that you had some
 2 of any conversations that you had with Mr. Tan,               2 kind of communication with Benny Tan before he sent
 3 possibly as your counsel.                                     3 this email; correct?
 4         THE DEPONENT: Yeah.                                   4        MS. FISSELL: Objection.
 5         MS. FISSELL: But I think you can answer               5     A. Yes, but I don't know when.
 6 to the extent it is just talking generally how we             6        BY MR. PASCUCCI:
 7 interact with Mr. Tan.                                        7     Q. Okay. But it would have been after
 8      A. This is probably input of several people,             8 April 18 and before April 20, or by April 20;
 9 including Mr. Tan, Mr. Alarilla, and Estella, and             9 correct?
10 it's framed this way.                                        10     A. It could have been end of March, and he
11         BY MR. PASCUCCI:                                     11 only responded then.
12      Q. All right. So this response by Mr. Tan               12     Q. Well, it says in the beginning that this
13 came together between April 18, when Mr. Weidner             13 is a response to Bill's email of April 18. So you
14 wrote, and April 20, when Mr. Tan wrote back;                14 couldn't have discussed responding to Bill's email
15 correct?                                                     15 before you got it; right?
16      A. Correct.                                             16     A. No.
17      Q. And sometime in that time period, did you            17     Q. So this -- whenever you -- without telling
18 have a discussion with Mr. Tan regarding what it             18 me what you discussed with Benny Tan, whatever input
19 says in Paragraph 1, where he tells Mr. Weidner:             19 you gave him going into this email happened sometime
20 "Your understanding is correct that the CEO intends          20 shortly before he sent it on April 20, 2011?
21 to contravene management only if the business is not         21        MS. FISSELL: Objection.
22 going according to plan or if it is absolutely               22     A. Well, the -- what's clear here is this
23 necessary."                                                  23 email was sent by Benny Tan to Bill Weidner.
24         MS. FISSELL: Objection. Dan, I don't                 24        BY MR. PASCUCCI:
25 think you are intending to do this, but the way you          25     Q. Right. Let's -- we talked about earlier
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                                                     Page 238                                                             Page 240
 1                                                       1        The best of your recollection is you
   on April 24 you were in New York; right?
 2                                                       2 stayed at The Plaza on this trip?
       A. You would have to go and show me back the
 3                                                       3    A. 13 years ago, I'm speculating to anywhere
   logs.
 4                                                       4 I was.
       Q. Sure. Let's go back to the flight log,
 5                                                       5    Q. Do you have any reason to believe that you
   158.
 6                                                       6 didn't send this email to Mr. Weidner from The Plaza
          MS. FISSELL: Dan, I just want to note, I
 7                                                       7 Hotel in New York?
   think we only have about five minutes left for
 8                                                       8        MS. FISSELL: Objection. Asked and
   today.
 9                                                       9 answered.
          MR. PASCUCCI: Understood.
10                                                      10    A. I have no reason to believe I sent it from
       A. April 24.
11                                                      11 anywhere, but I sent it on that date. I could have
          BY MR. PASCUCCI:
12                                                      12 been in the airplane when I sent it.
       Q. Yeah. You were in New York?
13
       A. I could have been in Pennsylvania, in Long 13           BY MR. PASCUCCI:
14
   Island. I could have been in New Jersey. So on the 14      Q. Your plane was on the ground at that
15                                                      15 point, though. So if you were -- it would have been
   East Coast.
16                                                      16 at Teterboro in a plane; right?
       Q. Okay. But to the best of your
17
   recollection, your plane was in Teterboro, and based 17    A. Yeah. That would be in New Jersey.
18                                                      18    Q. Did you ever go over to New Jersey without
   on what you said earlier, to the best of your
19                                                      19 getting on the plane to leave and just do work from
   recollection, you were staying at The Plaza at that
20                                                      20 the plane and then go back into New York?
   time; correct?
21
       A. Yeah. That would have been my base, yeah, 21        A. Yes. I play golf quite a bit in New
22                                                      22 Jersey.
   at the time.
23                                                      23    Q. And would you use the plane as an office
       Q. And on April 24 -- let's put up Tab 56.
24                                                      24 when it was in Teterboro?
   We will mark this as 161.
25                                                      25    A. No. No. No. I would be at the golf
          (Plaintiff's Exhibit 161 was marked.)
                                                     Page 239                                                             Page 241
 1        BY MR. PASCUCCI:                                       1 course or somewhere.
 2     Q. For the record, this is an email with                  2       Q. But you wouldn't have gone to your plane
 3 Bates Number GGAM-SDNY-0095866. This is an email              3 if you weren't planning on taking off?
 4 from you to Bill Weidner responding to an email from          4    A. No, I would not. Yes.
 5 Bill Weidner to you. And you wrote an email -- it             5       MR. PASCUCCI: All right. We are at
 6 captures the whole thread as accepting to the way             6 5 hours on the nose. Why don't we stop there, and
 7 forward.                                                      7 we will resume tomorrow.
 8        Did you send this Mr. Weidner on Sunday,               8       EVEREST TECHNICIAN: The time is 2:17 p.m.
 9 April 24, 2011?                                               9 We are off the record.
10     A. Yeah, it looks like it came from me.                  10         WHEREUPON, the within proceedings were
11     Q. And you were in New York or somewhere on              11 adjourned at the approximate hour of 2:17 p.m. (KST)
12 the East Coast when you sent this?                           12 on the 25th day of May, 2022.
13     A. Somewhere, yeah.                                      13          * * * * *
14     Q. You don't recall at this time being                   14
15 anywhere other than staying at The Plaza Hotel?              15
16        MS. FISSELL: Objection.                               16
17     A. East Coast.                                           17
18        BY MR. PASCUCCI:                                      18
19     Q. Is it fair to say that while you were                 19
20 there, you spent the night at The Plaza Hotel?               20
21     A. Unless I was in Boston. I used to -- this             21
22 summer I could have been in the Hamptons, which is           22
23 still New York.                                              23
24     Q. So but you're speculating you could have              24
25 been somewhere else?                                         25

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Deposition of Enrique K. Razon, Jr. V.1                          Global Gaming Philippines, LLC v. Enrique K. Razon, Jr., et al


   1
                                          REPORTER'S CERTIFICATE
   2

   3                          I, Dawn K. Larson, Registered Diplomate
   4      Reporter, Certified Realtime Reporter, Certified
   5      Realtime Captioner, and Notary Public, do hereby
   6      certify that, previous to the commencement of the
   7      examination, the deponent was remotely duly sworn by
   8      me to testify to the truth.
   9                          I further certify this deposition was
 10       taken remotely in shorthand by me and thereafter
 11       reduced to typewritten form, that the foregoing
 12       constitutes a true and correct transcript.
 13                           I further certify that I am not related
 14       to, employed by, nor of counsel for any of the
 15       parties or attorneys herein, nor otherwise
 16       interested in the result of the within action.
 17                           In witness whereof, I have hereunto
 18       affixed my hand and seal.                          My commission expires:
 19       January 31, 2023.
 20

 21                                                      __________________________________
                                                         Dawn K. Larson, MBA, RDR, CRR, CRC
 22                                                      Notary Public
 23

 24

 25

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